      Case 2:04-cr-02049-WFN        ECF No. 128    filed 11/10/21   PageID.1346 Page 1 of 1


                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON
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 2                                                                    Nov 10, 2021
                                                                          SEAN F. MCAVOY, CLERK

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 5                                UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF WASHINGTON
 7    UNITED STATES OF AMERICA,
                                                       No.    2:04-CR-2049-WFN-1
 8                                 Plaintiff,
 9              -vs-                                   ORDER DENYING MOTION FOR
                                                       REDUCED SENTENCE
10    DOMINGO CASTILLO JACOBO,
11                                 Defendant.
12
13              Pending before the Court is Defendant's Motion to Reduce Sentence Pursuant to First
14   Step Act and for Compassionate Release, ECF No. 122, and Motion for Entry of Default
15   Judgment . . ., ECF No. 127. According to the Bureau of Prisons Inmate Locator, Defendant
16   was released in August of this year. The Court has reviewed the file and Motion and is fully
17   informed. Accordingly,
18              IT IS ORDERED that Defendant's Motions to Reduce Sentence Pursuant to First
19   Step Act… and Motion for Entry of Default Judgment . . ., ECF Nos. 122 and 127, are
20   DENIED as MOOT.
21              The District Court Executive is directed to file this Order and provide copies to
22   counsel and pro se Defendant.
23              DATED this 10th day of November, 2021.
24
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26                                                     WM. FREMMING NIELSEN
     11-09-21                                   SENIOR UNITED STATES DISTRICT JUDGE
27
28


     ORDER
